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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
PLAINTIFF,
Vv.
Case No. 1:21-mj-00020-GMH
Mag. Judge: G. Michael Harvey
ADAM JOHNSON
DEFENDANT.

 

/

DECLARATION OF DAVID BIGNEY IN SUPPORT or

 

I, David Bigney, hereby declare:

1. My name, office address, and telephone number are as follows:

David Bigney
215 E. Livingston Street

Orlando, FL 32801
(407) 425-6068

2. I have been admitted to the following courts and bars:
a. Florida State Bar.
b. United States District Court for the Middle District of Florida.

3. lamcurrently in good standing with all states, courts, and bars in which I am admitted. I have
never been subject to discipline, nor have been disciplined by any bar to which I am admitted
or otherwise.

4. I have not been previously admitted pro hac vice in this Court, in the last two years, or
otherwise.

5. Ido not have an office located within the District of Columbia.
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Executed 13 January 2021

 

David Bigney, Esq.
